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                                                                                  December 16, 2024

      VIA CM/ECF

      The Honorable Lewis J. Liman
      United States District Judge
      Southern District of New York
      500 Pearl Street
      New York, New York 10007

      Re:      Mulgrew v. United States Dep’t of Transp. (“Mulgrew”), No. 24-cv-01644 (LJL); Chan
               v. U.S. Dep’t of Transp., (“Chan”) No. 23-cv-10365 (LJL)

      Dear Judge Liman:

      As your Honor is aware, we are counsel to the Mulgrew and Chan Plaintiffs. We write, in light of
      the Court’s December 13, 2024 Order, to seek clarification on the scope of oral argument
      scheduled for Friday, December 20, 2024. The Court’s Order states that the Court intends to
      consider preliminary injunction applications in the four Congestion Pricing matters on Friday.
      Separate from the injunction applications before your Honor are motions to dismiss and motions
      and cross-motions for summary judgment on the constitutional and NEPA claims. Plaintiffs wish
      to confirm that these claims will not be the subject of the hearing.

      We thank the Court for its guidance.

                                                                          Respectfully submitted,

                                                                          /s/ Alan M. Klinger
                                                                          Alan M. Klinger

                                                                          Attorney for Mulgrew and
                                                                          Chan Plaintiffs

The December 20 hearing is limited in scope to the preliminary injunction motions before the Court. The
parties may discuss the motions to dismiss and cross-motions for summary judgment only to the extent those
motions inform the preliminary injunction analysis.




December 17, 2024
